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15
                                UNITED STATES DISTRICT COURT
16

17                           NORTHERN DISTRICT OF CALIFORNIA

18                                      OAKLAND DIVISION

19
      EPIC GAMES, INC.,                              Case No. 4:20-CV-05640-YGR-TSH
20
                    Plaintiff, Counter-defendant,    PLAINTIFF’S ADMINISTRATIVE
21                                                   MOTION TO CONSIDER WHETHER
                           v.                        ANOTHER PARTY’S MATERIAL
22
                                                     SHOULD BE SEALED PURSUANT TO
      APPLE INC.,                                    CIVIL LOCAL RULE 79-5
23

24                  Defendant, Counterclaimant.
                                                     Judge: Hon. Yvonne Gonzalez Rogers
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     PLAINTIFF’S ADMINISTRATIVE MOTION TO
     CONSIDER WHETHER ANOTHER PARTY’S                          CASE NO. 4:20-CV-05640-YGR-TSH
     MATERIAL SHOULD BE SEALED
       Case 4:20-cv-05640-YGR           Document 1128        Filed 01/21/25     Page 2 of 3




1           Pursuant to Civil Local Rules 7-11 and 79-5(f), Plaintiff Epic Games, Inc. (“Epic”)

2    submits this administrative motion to consider whether another party’s material should be sealed

3    with respect to its Objections to Special Master Determinations Issued January 14, 2025

4    Regarding Apple’s Re-Reviewed Documents, the Declaration of Yonatan Even (“Even

5    Declaration”) and Exhibits A, B, C, D, E and F all dated January 21, 2025. The documents and

6    portions of documents Epic seeks to temporarily file under seal are listed below:

7
            Document                           Corresponding Page and Line Number(s)
8
            Exhibit A to the Even              Document in its entirety.
9           Declaration
            Exhibit B to the Even              Document in its entirety.
10          Declaration
            Exhibit C to the Even              Document in its entirety.
11          Declaration
12          Exhibit D to the Even              Document in its entirety.
            Declaration
13          Exhibit E to the Even              Document in its entirety.
            Declaration
14          Exhibit F to the Even              Document in its entirety.
            Declaration
15
            Epic seeks leave to provisionally file the documents under seal because they discuss
16
     materials that Apple has designated confidential under the protective order in this case. See Local
17
     Rule 79-5(f). Epic reserves the right to oppose, under Rule 79-5(f)(4), any submission Apple
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     makes to support sealing under Rule 79-5(f)(3). Epic also hereby provides notice of lodging to all
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     parties and their counsel pursuant to Civil Local Rule 79-5(f).
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     PLAINTIFF’S ADMINISTRATIVE MOTION TO
     CONSIDER WHETHER ANOTHER PARTY’S                 1          CASE NO. 4:20-CV-05640-YGR-TSH
     MATERIAL SHOULD BE SEALED
      Case 4:20-cv-05640-YGR      Document 1128      Filed 01/21/25     Page 3 of 3




1    Dated: January 21, 2025                Respectfully submitted,
2
                                            By:   /s/ Yonatan Even
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     PLAINTIFF’S ADMINISTRATIVE MOTION TO
     CONSIDER WHETHER ANOTHER PARTY’S        2           CASE NO. 4:20-CV-05640-YGR-TSH
     MATERIAL SHOULD BE SEALED
